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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

                                )
 In re:                         )                             Chapter 11
                                )
 TOUGH MUDDER INCORPORATED; and )                             Case No. 20-10036 (CSS)
 TOUGH MUDDER EVENT PRODUCTION )                              Case No. 20-10037 (CSS)
 INCORPORATED,                  )
                                )
               Debtors.         )
                                )

          CERTIFICATE OF COUNSEL REGARDING OMNIBUS HEARING DATE

               The undersigned hereby certifies as follows:

               1.      In response to the undersigned counsel’s inquiries, Derek C. Abbott, Esq., the

chapter 11 Trustee (the “Trustee”) for Tough Mudder Inc. (“Tough Mudder”) and Tough Mudder

Event Production Inc. (“TM Events” and, together with Tough Mudder, the “Debtors”) have been

assigned an omnibus hearing date by the Honorable Christopher S. Sontchi, Chief United States

Bankruptcy Judge.

               2.      Enclosed herewith is a proposed form of order (the “Omnibus Hearing

Order”) that states with specificity the time and date of the tentatively scheduled omnibus hearing.

                                        [Signature follows]
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             WHEREFORE, the Trustee hereby respectfully requests that the Court enter the

Omnibus Hearing Order attached herewith.


 Dated: February 11, 2020          MORRIS, NICHOLS, ARSHT & TUNNELL LLP
 Wilmington, Delaware
                                   /s/ Brett S. Turlington
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                                   Proposed Counsel for Derek C. Abbott, Esq., as Chapter
                                   11 Trustee to Tough Mudder Inc. and Tough Mudder Event
                                   Production Incorporated




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